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m UNITED STATES DISTRICT COURT
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TTE. LDU|S|ANA
LAFAYETTE DIVISION
IberiaBank Civil Action No. 6:14-02448
Versus Judge Rebecca F. Doherty
Broussard, et al Magistrate Judge Carol B. Whitehurst
.IUDGMENT

For the reasons contained in the Report and Recornmendation of the

Magistrate ]udge filed previously herein, noting the absence;hbjections thereto, and
concurring With the Magistrate Judge’s findings under the applicable laW;

IT IS OR])ERED that defendant, Darryl R. Broussard’s, Motion To Dismiss

Unfair Competition And Trade Practices Claim of IberiaBanl<, [Rec. Doc. 56] is

afayette, Louisiana, o this §§ d o
/M) viii/il § l')

I)ENIED.

 
    

THUS DONE ANI) SIGNED `

Wi, 201§’.

  

Rebecca F,,/i)ollerty \-
United States District Judge

